     Case 3:22-cv-00593-MMA-MSB Document 11 Filed 07/28/22 PageID.178 Page 1 of 2



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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    NEIL HAMMAN and MICHAEL                               Case No. 22-cv-593-MMA (MSB)
      STEWART, individually and on behalf of
12
      all others similarly situated                         ORDER GRANTING JOINT
13                                      Plaintiffs,         MOTION TO EXTEND THE TIME
                                                            TO FILE A FIRST AMENDED
14    v.                                                    COMPLAINT
15
      CAVA GROUP, INC.,                                     [Doc. No. 10]
16                                     Defendant.
17
18
19          The parties jointly move to extend the time for Plaintiffs to file a first amended
20    complaint pursuant to Federal Rule of Civil Procedure 15(a). Doc. No. 10. Good cause
21    appearing, the Court GRANTS the joint motion. Plaintiffs must file a first amended
22    complaint on or before August 18, 2022. Defendants must file a response to the first
23    amended complaint on or before September 19, 2022. Plaintiff must file an opposition
24    to any filed motion on or before October 10, 2022. Defendant must file a reply, if any,
25    on or before October 24, 2022.
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27                                                ***
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     Case 3:22-cv-00593-MMA-MSB Document 11 Filed 07/28/22 PageID.179 Page 2 of 2



 1          In light of the parties’ joint motion, the Court DENIES AS MOOT the pending
 2    motion to dismiss, see Doc. No. 6, and VACATES the hearing date and all remaining
 3    briefing deadlines.
 4          IT IS SO ORDERED.
 5    Dated: July 28, 2022
 6                                              _____________________________
 7                                              HON. MICHAEL M. ANELLO
 8                                              United States District Judge

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